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                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION


UNITED STATES OF AMERICA

vs.                                    4:05CR00305         SWW

CHRISTOPHER STEPHEN BRUCKS


           ORDER MODIFYING CONDITIONS OF PRETRIAL DETENTION

       On Motion of Defendant (DE# 456) and without objection by the United States, this

court’s order setting conditions of release signed March 7, 2006 is hereby amended as follows:

       Page 2, section 7(t)(iii) is changed to section7(t)(ii) to reflect that defendant Brucks shall

be subject to Home Detention. This modification will allow defendant Brucks to accept

employment officiating youth league softball games.

       All other conditions of release remain in effect.

       IT IS SO ORDERED this 6th day of June, 2006.




                                              ___________________________________
                                              UNITED STATES MAGISTRATE JUDGE
